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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

WAH SING (US) TRADING       )
LIMITED, LLC D/B/A EASYBIT, )                  Civil Action No. 1:16-cv-0504
                            )
    Plaintiff,              )
                            )
DEDRIC DUNCAN,              )
                            )
    Defendant.              )

                  APPLICATION FOR LEAVE OF ABSENCE

      Comes now Eric S. Fisher, an attorney of record for Plaintiff in the above-

referenced case and pursuant to Georgia Local Rule 83, and respectfully applies to

this Court for a leave of absence for the following dates:

      The period of leave during which time Applicant will be working out of the

city and unable to attend a hearing or trial are the following dates: June 13 – 17,

June 20-24, June 27-July 1, July 5 - 8, July 11.

      Applicant shows that the period covered by this requested leave of absence

does not conflict with any trial dates in this case.

      WHEREFORE, Applicant requests that the Court grant the requested leave.

      A [Proposed] Order is attached for the convenience of the Court.
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Respectfully submitted, this 22nd day of March, 2016.

                                     /s/ Eric S. Fisher
                                     Eric S. Fisher
                                     Ga. Bar No.: 250428
                                     TAYLOR ENGLISH DUMA LLP
                                     1600 Parkwood Circle, Suite 400
                                     Atlanta, GA 30339
                                     Telephone: (678) 336-7234
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                                     efisher@taylorenglish.com




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

WAH SING (US) TRADING       )
LIMITED, LLC D/B/A EASYBIT, )                     Civil Action No. 1:16-cv-0504
                            )
    Plaintiff,              )
                            )
DEDRIC DUNCAN,              )
                            )
    Defendant.              )

                              [PROPOSED] ORDER

      Application for Leave of Absence has been requested in the above-captioned

case by Eric S. Fisher, for the periods of:

      June 13 – 17, June 20-24, June 27-July 1, July 5 - 8, July 11.

      The above and foregoing request for Leave of Absence is APPROVED.


      SO ORDERED this ___ day of _______, 2016,


                                                  _______________________________
                                                            Honorable Steve C. Jones
                                                           UNITED STATES JUDGE

Prepared by:

/s/ Eric S. Fisher
Georgia Bar No. 250428
TAYLOR ENGLISH DUMA LLP
1600 Parkwood Circle, Suite 400

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                   LOCAL RULE 7.1D CERTIFICATION


      I hereby certify that the foregoing complies with the font and point

requirements of LR 5.1, to wit, this brief was prepared in Times New Roman font, 14-

point type.

                                     TAYLOR ENGLISH DUMA LLP

                                     /s/Eric S. Fisher
                                     Eric S. Fisher
                                     GA Bar No. 250428

                                     Counsel for Plaintiff




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                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing APPLICATION

FOR LEAVE OF ABSENCE was filed with the Clerk of Court using the CM/ECF

system which will automatically send an e-mail notification of such filing to the

following counsel of record:

                               Michael Jordan Lober
                               Lober, Dobson & Desai, LLC
                               3410 Overland Drive
                               Roswell, GA 30075
                               Telephone: 678-461-9800
                               Facsimile: 678-461-9944
                               mjlober@lddlawyers.com

                               Counsel for Defendant

      This 22nd day of March, 2016,


                                      /s/Eric S. Fisher
                                      Eric S. Fisher
                                      GA Bar No. 250428




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